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                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


     IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                     BIRMINGHAM DIVISION


CLAUDE A. TILLMAN,                       )
                                         )
      Plaintiff,                         )
                                         )
                                         )
v.                                       )     Case No.: 12-cv-2394-PWG
                                         )
MASTER CREDIT SYSTEMS,                   )
INC., a corporation; and                 )
EQUIFAX INFORMATION                      )
SERVICES, LLC, a corporation;            )
                                         )
      Defendants.                        )


                             MOTION TO REMAND

      COMES NOW Plaintiff in the above-styled matter, and pursuant to 28

U.S.C. § 1447(c), and moves this Honorable Court to remand this matter to the

Circuit Court of Jefferson County, Alabama, Birmingham Division. The defective

notice of removal mandates the requested remand. As grounds therefore, Plaintiff

states and shows the Court as follows:

                              Procedural Background

      1.      Plaintiff filed her claims in the Circuit Court of Jefferson County,

Alabama against Defendants Equifax Information Services, LLC (“Equifax”) and

Master Credit Systems, Inc. (“MCS”; and collectively, “Defendants”) on and
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Defendants were properly served with the Summons and Complaint on

      2.      Defendant Equifax filed the Notice of Removal on July 5, 2012. [Doc

1]

      3.      Defendant stated in its Notice of Removal that the matter was removable

based on 28 USC §1441(a). [Doc 1, ¶7]

      4.        Included it the Notice of Removal filing by Defendant Equiaxwas a

document purporting to show Defendant MCS’ consent to the removal. [Doc 1-1]

                                  Legal Standard

      5.      Whether a case may be removed is question of federal law to be

decided by the federal court. The removal statutes are to be strictly construed against

removal and all doubts must be resolved in favor of remanding the case to the state

court. Diaz v. Sheppard, 85 F.3d 1502, 1505 (11th Cir. 1996); see also Jerido v.

American Gen. Life & Acct. Ins. Co., 127 F. Supp. 2d 1322, 1324 (M.D. Ala. 2001)

(“Because federal court jurisdiction is limited, the Eleventh Circuit favors remand of

removed cases where federal jurisdiction is not absolutely clear.”) Furthermore, the

federal court must “evaluate all of the factual allegations in the light most favorable

to the plaintiff.” Crowe v. Coleman, 113 F.3d 1535, 1538 (11th Cir. 1997).

      6.      Removal statutes must be strictly construed because Congressional

intent in enacting removal legislation was to restrict removal jurisdiction. Shamrock

Oil & Gas Corp. v. Streets, 313 US 100, 108, 61 S. Ct. 868, 85 L. Ed. 2d 1214
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(1921); Lane v. Champion International Corp., 827 Fed. Supp. 701, 705 (S.D. Ala.

1993).

      7.      “Where there are multiple defendants, all must join in a [notice] to

remove within thirty days of service.” Thorn v. Amalgamated Transit Union, 305

F.3d 826, 833 (8th Cir.2002). “The statute governing the procedures for removal

provides that ‘all defendants who have been properly joined and served must join in

or consent to the removal of the action.’” Brown v. Fryer, 12-cv-01587-CMA, D.

Col. (June 27, 2012) citing 28 U.S.C. § 1446(b)(2)(A); Farmland Nat'l Beef Packing

Co., L.P., 98 F.Appx. 752, 756 (10th Cir. 2004) ("all of the defendants must consent

to removal.") “If this requirement is not met, the notice of removal is procedurally

defective.” See Swanson v. U.S. Bank, NA, No. 10cv01258, 2011 WL 1585134, at *1

(D. Utah Apr. 26, 2011).

                                   Argument
                    Defendant’s Notice of Removal is Defective

      8.      The Notice of Removal includes a document purporting to contain the

“consent” of Defendant MCS, however, this document is deficient. [See Doc 1-1]

      9.      The document entitled Joinder and Consent to Notice of Removal of

Action contains a signature block for Master Credit Systems, however, the signature

line merely says “By: s/Eddie Hall .”

      10.     There is no further designation or explanation of Eddie Hall neither in
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what capacity he signs or in what way or manner he is even affiliated with Master

Credit Systems.

      11.    There is no indication if Eddie Hall is an officer of Master Credit

Systems, a manager of Master Credit Systems, a non-managerial employee of Master

Credit Systems, or even a person off the street.

      12.    If the party signing on behalf on the corporation does not have

authority to bind the corporation, likewise, their signature should not be able to

provide the proper “consent” required by 28 U.S.C. §1446(b)(2)(a).

      13.    Based on the document filed by Defendant Equifax along with the

Notice of Removal, it is impossible to ascertain that Eddie Hall has the ability to bind

Master Credit Systems and consequently, the ability to consent to the removal of this

matter to this Honorable Court.

      14.     Therefore, pursuant to 28 U.S.C. § 1447(c), there is lack of

unanimity of consent of all parties to the action and this matter is due to be remanded

to the Circuit Court of Jefferson County, Alabama.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests

this Honorable Court to enter an order remanding this case to the Birmingham

Division of the Circuit Court of Jefferson County.

      Respectfully submitted this     18th   day of   July , 2012.
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                                               s/Wesley L. Phillips
                                             Wesley L. Phillips
                                             Attorney for Plaintiff


OF COUNSEL:
PHILLIPS LAW GROUP, LLC
Post Office Box 362001
Birmingham, Alabama 35236
Telephone: (205) 383-3585
Facsimile: (800) 536-0385
wlp@wphillipslaw.com



                            CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was electronically filed on this 18th day
of July , 2012, with the Clerk of the Court using the CM/ECF system, which
will send electronic notification of such filing to the following:

Victoria J. Franklin-Sisson
JONES WALKER
One Federal Place
1819 5th Avenue North, Suite 1100
Birmingham, Alabama 35203



                                              s/Wesley L. Phillips
                                             OF COUNSEL
